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         8
                                     UNITED STATES DISTRICT COURT
         9
                                   NORTHERN DISTRICT OF CALIFORNIA
        10
        11   C.B.,                                      CASE NO. 4:24-cv-03749
        12
                      Plaintiff,                        ADMINISTRATIVE MOTION TO
        13   v.                                         MAINTAIN THE ANONYMITY
        14                                              OF PLAINTIFF
             UNITED STATES OF AMERICA
             (FEDERAL BUREAU OF
        15   PRISONS); Jeffrey Wilson; and
             DOES 1-25, inclusive,
        16
        17            Defendants.
        18
        19
        20                   INTRODUCTION AND STATEMENT OF ISSUES
        21           This is no ordinary case. This lawsuit directly impacts the basic rights and
        22 future of a vulnerable population of female federal inmates. Out of this group, one
        23 Plaintiff is willing to share her voice with this Court, notwithstanding her fear that
        24 by doing so, she may suffer the consequences of retaliation and harassment by third
        25 parties.
        26           As a result, Plaintiff files this application to proceed anonymously. Any
        27 prejudice to Defendants is far outweighed by Plaintiff’s need for anonymity, and
          28 the public will be benefited by giving voice to this vulnerable population and
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              1 ensuring the individuals continue to bring judicial challenges to government action
              2 that may violate their constitutional rights. For these reasons, the Court should
              3 permit Plaintiff to proceed anonymously.
              4                                   BACKGROUND
              5         Beginning in approximately May or June 2022, Defendant Jeffrey Wilson
              6   (“WILSON”), a medical staff member at FCI Dublin, owned and operated by the
              7   United States, repeatedly subjected Plaintiff C.B., a minimum-security inmate, to
              8   sexual abuse in violation of federal and state law.
              9         Congress enacted the Prison Rape Elimination Act in 2003, 34 U.S.C. §
         10 30301, et seq. (“PREA”) to establish national standards for preventing precisely
         11 this kind of sexual abuse from happening to federal inmates. Under PREA, the U.S.
         12 Department of Justice promulgated detailed regulations that provide precise
         13 procedures that prisons must follow. The Federal Bureau of Prisons (“BOP”)
         14 adopted PREA policies in response to these regulations.
         15             Defendant WILSON, an agent and employee at FCI Dublin, repeatedly
         16 subjected Plaintiff to sexual abuse. In doing so, Defendant violated Plaintiff’s
         17 Constitutional rights and California law on gender violence, sexual assault, and
         18 common law on battery.
         19            Defendant RAY J. GARCIA (“GARCIA”) was the associate warden at FCI
         20 Dublin between December 2018 and November 2020, and the warden of FCI
         21 Dublin from November 2020 to July 2021 – the period that Plaintiff was being
         22 abused by Defendant SMITH. As the warden, GARCIA was responsible for
         23 safekeeping, care, protection, discipline, programming, and release of inmates
         24 incarcerated at FCI Dublin. GARCIA was also responsible for hiring, training, and
         25 supervising/managing staff, and determining operating procedures and policies.
         26             As a result of Defendants’ actions, Plaintiff suffered numerous emotional
         27 injuries and incurred severe personal injuries, which continue to affect her today.
         28
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              1                                     ARGUMENT
              2         Federal Courts generally apply a “compelling reasons” test for sealing court
              3 records, requiring the party requesting the filing under seal to show that compelling
              4 reasons supported by specific facts outweigh the public policies favoring disclosure.
              5 Pintos v. Pacific Creditors Association, 605 F.3d 665, 667-678 (9th Cir. 2010).
              6         The Ninth Circuit allows “Parties to use pseudonyms in the ‘unusual case’
              7 when nondisclosure of the party’s identity ‘is necessary . . . to protect a person from
              8 harassment, injury, ridicule or personal embarrassment.’” Does I thru XXIII v.
              9 Advanced Textile Corp., 214 F.3d 1058, 1068-69 (9th Cir. 2000).
         10             The Ninth Circuit has identified three circumstances where it may be
         11 appropriate for a party to proceed anonymously: (1) when identification creates a
         12 risk of retaliatory physical or mental harm; (2) when anonymity is necessary to
         13 preserve privacy in a matter of a sensitive and highly personal nature; and (3) when
         14 the anonymous party is compelled to admit his or her intention to engage in illegal
         15 conduct, thereby risking criminal prosecution. Id. at 1068. A party may proceed
         16 anonymously when his or her “need for anonymity outweighs prejudice to the
         17 opposing party and the public’s interest in knowing the party’s identity.” Id. at
         18 1067.
         19             This is precisely the type of “unusual case” in which a pseudonym is
         20 appropriate. Plaintiff should be permitted to proceed by pseudonym for two
         21 independent reasons. First, disclosure of her identity creates a significant risk of
         22 retaliatory harm. Second, anonymity is necessary to preserve her privacy in a highly
         23 publicized case. In both cases, Plaintiff’s fear is well-founded, and her need for
         24 anonymity outweighs any prejudice to the opposing party and actually furthers the
         25 public interest.
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         1         I.    Plaintiff Should be Permitted to Proceed Anonymously Because
         2               Disclosure of Her Identity Creates a Risk of Retaliatory Physical
         3               Harm.
         4         Plaintiff, a member of a vulnerable class of female federal inmates, should be
         5 permitted to proceed anonymously because disclosure of her identity would create a
         6 risk of retaliatory physical harm to her and her family members. When a party fears
         7 retaliation, the court balances: (1) severity of the threatened harm, (2)
         8 reasonableness of the anonymous parties’ fears, (3) the anonymous party’s
         9 vulnerability to retaliation, (4) prejudice to the opposing party, and (5) whether the
       10 public’s interest in the case requires that litigants reveal their identities. Doe v.
       11 Kamehameha Schools/Bernice Pauahi Bishop Estate, 596 F.3d 1036, 1042 (9th Cir.
       12 2010). These factors weigh in favor of preserving Plaintiff’s anonymity.
       13 Plaintiff has a well-grounded fear of adverse consequences if she publicly identifies
       14 with this litigation. Given the media attention to this case, Plaintiff has a well-
       15 grounded fear of physical harm and harassment from third parties if she is publicly
       16 identified with this litigation. See Advanced Textile Corp., 214 F.3d at 1070
       17 (holding that economic injuries inflicted by third parties, such as termination or
       18 blacklisting, may be sufficient to justify anonymous proceedings, where such
       19 injuries carry “extraordinary” consequences).
       20          II.   Any prejudice to Defendants is Outweighed by Plaintiff’s Need for
       21                Anonymity
       22          Even assuming that the factual allegations in the declarations were
       23 prejudicial to the government’s arguments at this stage of the proceeding, any
       24 prejudice is far outweighed by Plaintiff’s need to proceed anonymously. Although
       25 private plaintiffs may be prejudiced by having to proceed publicly against a private
       26 defendant, the government incurs no such prejudice because it possesses a
       27 considerably “less significant interest in protecting its reputation from damaging
          28 allegations than the ordinary individual defendant.” 2 EW v. New York Blood Ctr.,
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              1 213 F.R.D. 108, 111 (E.D.N.Y. 2003); see also S. Methodist Univ. Ass’n of Women
              2 Law Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979).
              3              III.      The Public’s Interest is Furthered by Permitting Plaintiff to
              4                        Proceed Anonymously
              5              Although the public ordinarily has an interest in knowing the names of
              6 parties and participants in lawsuits, that interest is outweighed where, as here, the
              7 public has an overriding interest in ensuring that individuals bring judicial
              8 challenges to government action that may violate their constitutional rights and
              9 their rights under the Administrative Procedure Act. See, e.g., Advanced Textile
         10 Corp., 214 F.3d at 1073.
         11                  The right of public access to court proceedings and documents is a qualified
         12 one and varies with the nature of the proceeding or documents in question. NBC
         13 Subsidiary (KNBC-TV), Inc. v. Superior Court, 20 Cal.4th 1178 (1999).1
         14                  Federal and state laws contain many statutes prohibiting the disclosure of the
         15 identity of both minors and victims of sex crimes. Public policy favors such
         16 protection. M.G. v. Time Warner, Inc., 89 Cal.App.4th 623, 635 (2001); see also
         17 Cal. Gov. Code §§ 11131.5, 54961; and Cal Pen. Code §§ 293, 293.5, and 868.7.
         18 The following Declaration of Jessica K. Pride and conduct alleged in the Complaint
         19 of this matter involving the sexual assault of Plaintiff and the sexual assault and
         20 sexual harassment of other victims by Plaintiff’s perpetrator, establishes that
         21 overriding interests exist sufficient to support allowing Plaintiff to move forward as
         22 a “Doe” Plaintiff using only her middle and last initials: C.B. A substantial
         23 probability exists that the overriding interests of all parties will be prejudiced if the
         24 Plaintiff is not permitted to proceed anonymously.
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                      California authority is cited only as persuasive authority.
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              1                                  CONCLUSION
              2       For the foregoing reasons, Plaintiff respectfully applies to proceed
              3 anonymously.
              4                                               Respectfully Submitted,
              5 Dated: June 24, 2024                          THE PRIDE LAW FIRM
              6                                               /s/ Jessica K. Pride
                                                              Jessica K. Pride
              7                                               Email: jpride@pridelawfirm.com
              8                                               Attorneys for Plaintiff
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